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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

WSOU INVESTMENTS LLC                             §
                                                 §
vs.                                              §        NO: WA:20-CV-00533-ADA
                                                 §
HUAWEI TECHNOLOGIES CO., LTD.,                   §
HUAWEI TECHNOLOGIES USA INC.,
HUAWEI TECHNOLOGIES USA INC.,
HUAWEI TECHNOLOGIES CO., LTD.,
WSOU INVESTMENTS LLC



              ORDER TIME OF TELEPHONIC SCHEDULING CONFERENCE




       The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear by
phone for a telephone conference on October 16, 2020 at 01:00 PM . Please call (866) 434-5269
with access code 9678090 to be included in the hearing.


               SIGNED on 16th day of October, 2020.



                                                     ______________________________
                                                     ALAN D ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE
